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Case 2:11-cr-20203-AC-PJK ECF No. 65, PagelD.173 Filed 12/10/13 Page 1 of 2 A

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

United States of America,
Plaintiff,
Criminal No. 11-20203
V. |
D-2 Ryan Vi A tke (ie Honorable Avern Cohn
-2 Ryan Vinco, oH
| Defendant pec 18 208
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OETROIT

 

DEFENDANT’S ACKNOWLEDGMENT OF FIRST
SUPERSEDING INFORMATION

 

I, RYAN VINCO , defendant in this case, hereby acknowledge that I have
received a copy of the First Superseding Information before entering my plea,
and that I have read it and understand its contents.

I know that if I am convicted or plead guilty, I may be sentenced as follows:

‘Count One: Up to 20 years in prison, a $200,000 fine, or both.
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RYAN VINCO
Defendant

 

 
 

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ACKNOWLEDGMENT OF DEFENSE COUNSEL

I acknowledge that I am counsel for defendant and that I have received a copy
of the Standing Order for Discovery and Inspection which requires all pre-trial
motions to be filed within twenty (20) days of arraignment.

WALES

Dated: / Lol) ?

 

 
